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U.S. Department of Justice

United States Marshals Service

District of Columbia

Washington, D.C. 20001

November 1, 2021

MEMORANDUM TO: — Quincy Booth
Director
District of Columbia — Department of Corrections (D/DOC)

FROM: Lamont J. Ruffin
Acting United States Marshal
District of Columbia (D/DC)

SUBJECT: D/DC USMS Prisoners Detained by District of Columbia -
Department of Corrections

On October 18, 2021, I directed Deputy United States Marshals (DUSMs) under my
command to conduct an unannounced inspection and review of all District of Columbia
Department of Corrections (D.C. DOC) facilities housing prisoners remanded to United States
Marshals Service custody. I further directed that the inspection team individually review the
conditions of confinement for all D/DC USMS prisoners, review jail administrative processes and
review the consistency and appropriateness of detention practices at the facility.

From October 18 — October 22, 2021, an eight deputy D/DC USMS Inspection team
inspected the facility, interviewed more than 300 federal detained persons, and spoke with many
DOC staff. On October 22, 2021, I visited the facility myself to verify the preliminary information
that I had received by my inspection team. Based on the USMS inspection, I believe that there is
evidence of systemic failures, in particular at the Central Detention Facility (CDF), that may
warrant further examination by the Department of Justice Civil Rights Division.

While we are preparing a formal summary of the inspection to share with you, some of the
specific findings at the CDF were as follows:

e Water and food appeared to be withheld from detainees for punitive reasons
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Inspectors observed large amounts of standing human sewage (urine and feces) in the
toilets of multiple occupied cells. The smell of urine and feces was overpowering in many
locations,

The water in many of the cells within South 1 and North 1 had been shut off for days,
inhibiting detainees from drinking water, washing hands, or flushing toilets.

DOC staff confirmed to inspectors that water to cells is routinely shut off for punitive
reasons.

Food delivery and storage is inconsistent with industry standards. Hot meals were observed
served cold and congealed.

Jail entrance screening procedures were inconsistent and sloppy.

Evidence of drug use was pervasive, and marijuana smoke and odor were widespread, and
the facility had a strong smoke and odor of marijuana.

Detainees had observable injuries with no corresponding medical or incident reports
available to inspectors.

DOC staff were observed antagonizing detainees.

DOC staff were observed not following COVID-19 mitigation protocols.

Several DOC staff were observed directing detainees to not cooperate with USMS
inspectors. One DOC staffer was observed telling a detainee to “stop snitching”.
Supervisors appeared unaware or uninterested in any of these issues.

Accordingly, I am informing you that I have forwarded the results of my inspection of the

DC DOC to the Department of Justice Civil Rights Division for review of potential violations of
the Civil Rights of Institutionalized Persons Act at the DC DOC, specifically at the Central
Detention Facility (CDF). Conditions at the Central Treatment Facility (CTF) were observed to be
largely appropriate and consistent with federal prisoner detention standards.

Beryl A. Howell, Chief Judge D.C U.S. District Court

Emmet Sullivan, U.S. District Judge D.C. District Court

Anthony Dixon, United States Marshal — D.C. Superior Court
Johnnie Hughes, United States Marshal — District of Maryland
Channing Phillips, (A) United States Attorney, District of Columbia
A.J. Kramer, DC Federal Public Defender

Laura Cowall, Deputy Chief DOJ Civil Rights Division
